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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                )           4:05CR3019-3
                                         )
            Plaintiff,                   )
                                         )           MEMORANDUM
vs.                                      )           AND ORDER
                                         )
TERESA MARIE JONES,                      )
                                         )
            Defendant.                   )

       This matter comes on to consider the defendant’s motion for mental evaluation
(filing 97). Having considered the matter,

       IT IS ORDERED that the defendant’s motion for mental evaluation (filing 97)
is granted. The cost of the psychiatric evaluation shall not exceed $1,500.

      December 6, 2005.                      BY THE COURT:

                                             s/ Richard G. Kopf
                                             United States District Judge
